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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    VIRGINIA L. GIUFFRE

                         Plaintiff,
                                                   15 Civ. 7433 (LAP)
    -against-
                                                            ORDER
    GHISLAINE MAXWELL,

                         Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

        The Court has reviewed the parties’ proposed redactions that

were provided to the Court for in camera review on the evening of

October 21, 2020.         The Court has approved Ms. Giuffre’s proposed

redactions        and    has   ordered   limited   additional       redactions,

identified by the Court in its review of both parties’ proposed

redactions, relating to (1) personally identifiable information

and (2) the identities of certain nonparties mentioned in the

materials.         The   Court   provided    details   of   those   additional

redactions to the parties by email.           As the Court has discussed in

prior orders, the relevant materials shall be posted on the docket

no later than 9:00 a.m. on October 22, 2020.1

SO ORDERED.

Dated:          New York, New York
                October 21, 2020


1 Given the possibility that this order would not be docketed until
the morning of October 22, 2020, the Court provided by email a
copy of this order to counsel on the evening of October 21, 2020.
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LORETTA A. PRESKA
Senior United States District Judge




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